                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF ARIZONA

In re:                                       CASE NO.       2:15-bk-12003-DPC


PHOENIX HELIPARTS                            CH. 11 POST CONFIRMATION REPORT
LIQUIDATION TRUST
                                                 X   QUARTERLY             FINAL
                                                     (PLEASE CHECK)

                                             QUARTER ENDING:          09/30/2020
                                 )
                     Debtorfsl         1      DATE PLAN CONFIRMED:05/31/2016

SUMMARY OF DISBURSEMENTS:


A. Disbursements made under the plan,for current quarter:              $       23.993.83

B. Disbursements not under the plan,for current quarter:               $            0.00

                                     Total Disbursements               $       23.993.83

         ALL DISBURSEMENTS MADE BY THE REORGANIZED DEBTOR,BE THEY
         UNDER THE PLAN OR OTHERWISE, MUST BE ACCOUNTED FOR AND
         REPORTED HEREIN FOR THE PURPOSE OF CALCULATING THE
         QUARTERLY FEES.

PLEASE ANSWER THE FOLLOWING:


1.       What are your projections as to your ability to comply with the terms of the

         plan?

         I believe that I will be able to comply with all terms of the plan.



2.       Please describe any factors which may materially affect your ability to obtain
         a final decree.


         Pending Reish appeal prevents distribution until it is resolved. However.

         Trustee is considering seeking entry of final decree. Reish appeal was decided

         on October 6. 2020 in favor of Liquidation Trust. Reish has requested

         rehearing,and there has been no ruling on that request. If rehearing is

         denied. Reish shall have one final appeal to the 9*^ Circuit Court of Appeals. It

         is anticipated it shall take 6-8 months for this appeal to proceed and conclude.



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3.      If plan payments have not yet begun, please indicate the date that the first
        plan payment is due.

        See answer to Item 2 above.


        We believe Mr. Reish will appeal anv adverse decision to the 9th Circuit, which
        could cause further delay. This is the last matter preventing a distribution.

        Furthermore,the Azerbaijani Ministrv of Defense("AMOD")holds FAA title to
        helicopter 0041FF which the Liquidation Trust has been storing along with
        debtor's business records. In lune. 2019 AMOD obtained a judgment against
        Mr.and Mrs. Reish in the amount of $2.150.000. The Trust has requested that
        both parties agree to allow the Trustee to sell the helicopter and hold the
        proceeds pending further court order.

        The Trust has filed a request to abandon and destrov the remaining PHP
        business records that remain in storage. The time for objection to that
        request has not vet expired.

     FILE ORIGINAL REPORT ELECTRONICALLY WITH THE COURT. FILE A PAPER COPY WITH U.S. TRUSTEE'S OFFICE



SUMMARY OF AMOUNTS DISTRIBUTED UNDER THE PLAN:



                                                Current Quarter         Paid to Date            Balance Due
A. FEES AND EXPENSES:

1.   Disbursing Agent Compensation                 $     3.720.00       $ 203.370.67          $         231.55

2.   Fee for Attorney for Trustee                  $   16.431.75       $ 846.785.42           $          0.00

3.   Fee for Attorney for Debtor                   $         0.00       $         0.00        $          0.00

4. Other Professionals                             $    3.842.08        $ 302.366.99          $ 144.264.46

5.   All Expenses,Including Disbursing Agent's $       23.993.83        $ 1.352.523.08        $ 144.496.01

B. DISTRIBUTIONS:

6. Secured Creditors                               $                     $                    $

7.   Priority Creditors                            $        0.00         $ 123.242.06          $    0.00

8. Unsecured Creditors                             $                     $                    $

9.   Equity Security Holders                       $                     $                    $

10. Other Payments- Specify Class of Payee $                             $                    $.
                                                   $                     $                    $.
                                                   $                     $                    $.
 TOTAL PLAN DISBURSEMENTS                          $ 23.993.83           $1.475.765.14^       $ 144.496.01"
     (Report Sum of Lines 1 -10,current quarter column,on page 1,A.)

C. Percent Dividend to be Paid to Unsecured Creditors Under Plan                          TBD

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SUMMARY OF PROPERTY TRANSFERRED UNDER THE PLAN:


                                           Description of Property

Secured Creditors                   N/A

Priority Creditors                  N/A

Unsecured Creditors                       N/A

Equity Security Holders             N/A

Other Transfers- Specify class of Transferee
 Aircraft Sale -10/02/2017          Serial No.270082D;Sales Price: $253.130.00

Purchaser;                      Precision Heli-Support. LLC

"See Exhibit B.
'"See Exhibit C.




CONSUMMATION OF PLAN:



        If this is a final report, has an application for Final Decree been submitted?

                   Yes   Date application was submitted?

          X        No    Date when application will be submitted

         Estimated Date of Final Payment Under Plan           Upon Resolution of Reish Appeal




         1 CERTIFY UNDER PENALTY OF PERJURY THAT THE ABOVE INFORMATION IS TRUE
         AND CORRECT TO THE BEST OF MY KNOWLEDGE.




        SIGNED;           \           1^. I \                 DATE: October21.2020
                          Louie A. Mukai, Liquidation Trustee




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